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  11
                               UNITED STATES DISTRICT COURT
  12
               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  13

  14 Amazon Content Services, LLC;                Case No. 2:18-CV-03325-MWF (AS)
       Columbia Pictures Industries, Inc.;
  15   Disney Enterprises, Inc.; Netflix          PLAINTIFFS’ AMENDED
       Studios, LLC; Paramount Pictures           CORPORATE DISCLOSURE
  16   Corporation; Sony Pictures Television      STATEMENT AND NOTICE OF
       Inc.; Twentieth Century Fox Film           INTERESTED PARTIES
  17   Corporation; Universal City Studios        [Fed. R. Civ. P. 7.1 and L.R. 7.1-1]
       Productions LLLP; Universal Cable
  18   Productions LLC; Universal Television      Judge: Hon. Michael W. Fitzgerald
       LLC; Warner Bros. Entertainment Inc.,
  19
                     Plaintiffs,
  20
             vs.
  21
       Set Broadcast, LLC d/b/a Setvnow;
  22 Jason Labossiere; Nelson Johnson,

  23                 Defendants.
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                   AMENDED CORPORATE DISCLOSURE STATEMENT AND NOTICE OF INTERESTED PARTIES
                                                             CASE NO. 2:18-CV-03325-MWF (AS)
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   1         Plaintiffs’ disclosure statement, pursuant to Federal Rule of Civil Procedure 7.1 and Local

   2 Rule 7.1-1 (Dkt. 4), is amended, with respect to Plaintiff Twentieth Century Fox Film

   3 Corporation, as follows:

   4         Plaintiff Twentieth Century Fox Film Corporation is a wholly-owned indirect subsidiary of

   5 Twenty-First Century Fox, Inc., which is a wholly-owned subsidiary of The Walt Disney

   6 Company, a publicly traded company.

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   8 DATED: May 20, 2019                        MUNGER, TOLLES & OLSON LLP

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  10
                                                By:           /s/ Kelly M. Klaus
  11                                                 KELLY M. KLAUS
                                                Attorneys for Plaintiffs
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                  AMENDED CORPORATE DISCLOSURE STATEMENT AND NOTICE OF INTERESTED PARTIES
                                                            CASE NO. 2:18-CV-03325-MWF (AS)
